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05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR12-237-JCC
08         Plaintiff,                     )
                                          )
09         v.                             )
                                          )            DETENTION ORDER
10   RUCHELL GILBERT,                     )
                                          )
11         Defendant.                     )
     ____________________________________ )
12

13 Offense charged:        Conspiracy to Distribute Controlled Substances

14 Date of Detention Hearing:     February 4, 2013.

15          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

16 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

17 that no condition or combination of conditions which defendant can meet will reasonably

18 assure the appearance of defendant as required and the safety of other persons and the

19 community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.     Defendant comes before this Court pursuant to a Writ of Habeas Corpus ad

22 Prosequendum. He would remain in the custody of the State of Washington if not detained by



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01 this Court. The issue of detention is, therefore, moot.

02         2.      Defendant does not contest the entry of an Order of Detention.

03         3.      There does not appear to be any condition or combination of conditions that will

04 reasonably assure the defendant’s appearance at future Court hearings while addressing the

05 danger to other persons or the community.

06 It is therefore ORDERED:

07      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

08         General for confinement in a correction facility separate, to the extent practicable, from

09         persons awaiting or serving sentences or being held in custody pending appeal;

10      2. Defendant shall be afforded reasonable opportunity for private consultation with

11         counsel;

12      3. On order of the United States or on request of an attorney for the Government, the

13         person in charge of the corrections facility in which defendant is confined shall deliver

14         the defendant to a United States Marshal for the purpose of an appearance in connection

15         with a court proceeding; and

16      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

17         for the defendant, to the United States Marshal, and to the United State Pretrial Services

18         Officer.

19         DATED this 4th day of February, 2013.

20

21                                                       A
                                                         Mary Alice Theiler
22                                                       United States Magistrate Judge



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